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8
                    UNITED STATES DISTRICT COURT
9             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
10
     CAROL SCAVO, individually and on ) Case No.
11   behalf of all others similarly situated, )
12                                            ) CLASS ACTION
     Plaintiff,                               )
13                                              COMPLAINT FOR VIOLATIONS OF:
                                              )
14                                            )    1.  NEGLIGENT VIOLATIONS OF
                                              )        THE TELEPHONE CONSUMER
15
            vs.                               )        PROTECTION ACT [47 U.S.C.
                                                       §227 ET SEQ.]
16                                            )    2.  WILLFUL VIOLATIONS OF
17
                                              )        THE TELEPHONE CONSUMER
                                              )        PROTECTION ACT [47 U.S.C.
                                                       §227 ET SEQ.]
18   EVERQUOTE, INC.; and DOES 1              )
19   through 10, inclusive, and each of them, ) DEMAND FOR JURY TRIAL
                                              )
20
     Defendant.                               )
21   ________________________________
22
                                       INTRODUCTION

23
     1.   CAROL SCAVO (“Plaintiff”) brings this Class Action Complaint for
24        damages, injunctive relief, and any other available legal or equitable
25        remedies, resulting from the illegal actions of EVERQUOTE, INC.
26        (“Defendant”), in negligently and knowingly contacting Plaintiff on
27        Plaintiff’s cellular telephone, in violation of the Telephone Consumer
28        Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading



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          Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as
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          to himself and his own acts and experiences, and, as to all other matters,
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          upon information and belief, including investigation conducted by his
4
          attorneys.
5
                             JURISDICTION AND VENUE
6
     2.   Jurisdiction is proper under 28 U.S.C. § 1332 because Plaintiff seeks up to
7
          $1,500 in damages for each call in violation of the TCPA, which, when
8
          aggregated among a proposed class number in the tens of thousands,
9
          exceeds the $5,000,000 threshold for federal court jurisdiction. Further,
10

11
          Plaintiff alleges a national class, which will result in at least one class

12
          member belonging to a different state than that of Defendant, providing

13        jurisdiction under 28 U.S.C. Section 1332. Therefore, both elements of
14        diversity jurisdiction under the Class Action Fairness Act of 2005
15        (“CAFA”) are present, and this Court has jurisdiction.
16   3.   Venue is proper in the United States District Court for the Western District
17        of Pennsylvania pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
18        Defendant is subject to personal jurisdiction in the County of Somerset,
19        State of Pennsylvania.
20                                        PARTIES
21
     4.   Plaintiff is, and at all times mentioned herein was, a citizen and resident of
22
          the State of Pennsylvania. Plaintiff is, and at all times mentioned herein
23
          was, a “person” as defined by 47 U.S.C. § 153 (10).
24
     5.   Plaintiff is informed and believes, and thereon alleges, that Defendant is,
25
          and at all times mentioned herein was, a corporation whose primary
26
          corporate address is in Pennsylvania.         Defendant, is and at all times
27
          mentioned herein was, a corporation and is a “person,” as defined by 47
28
          U.S.C. § 153 (10). Defendant provides auto coverage leads.           Plaintiff


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1
           alleges that at all times relevant herein Defendant conducted business in the
2
           State of Pennsylvania and in the County of Delaware, and within this
3
           judicial district.
4
                                FACTUAL ALLEGATIONS
5
     6.    At all times relevant, Plaintiff was a citizen of the State of Pennsylvania.
6
           Plaintiff is, and at all times mentioned herein was, a “person” as defined by
7
           47 U.S.C. § 153 (10).
8
     7.    Defendant is, and at all times mentioned herein was, a corporation and a
9
           “person,” as defined by 47 U.S.C. § 153 (10).
10

11
     8.    At all times relevant Defendant conducted business in the State of

12
           Pennsylvania and in the County of Somerset, within this judicial district.

13   9.    On or about April of 2019, Defendant began using Plaintiff’s cellular
14         telephone for the purpose of sending Plaintiff spam advertisements and/or
15         promotional offers, via text message, including a text message sent to and
16         received by Plaintiff on or about April 15, 2019.
17   10.   On April 15, 2019, Plaintiff received a text message from Defendant that
18         read:
19

20              Hey Vivian, Did you know that thanks to a new PA statue
                you are approved for up to 739 subsidy on your Car-
21
                Coverage? Apply-here g6xrpjdunw.zw5aru5.de
22

23

24
     11.   Prior to April 2019, Plaintiff had never contacted nor conducted any

25
           business with Defendant in any fashion, including having never visited any
26         of Defendant’s online websites.
27

28




                                   CLASS ACTION COMPLAINT - 3
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1
     12.   The text message placed to Plaintiff’s cellular telephone was placed via an
2
           “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. §
3
           227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
4
     13.   The telephone number that Defendant, or its agent texted was assigned to a
5
           cellular telephone service for which Plaintiff incurs a charge for incoming
6
           texts pursuant to 47 U.S.C. § 227 (b)(1).
7
     14.   These text messages constituted texts that were not for emergency purposes
8
           as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
9
     15.   As of April 2019, Plaintiff did not provide Defendant or its agents with
10

11
           prior express consent to receive unsolicited text messages, pursuant to 47

12
           U.S.C. § 227 (b)(1)(A).

13   16.   These text messages by Defendant, or its agents, violated 47 U.S.C. §
14         227(b)(1).
15                           CLASS ACTION ALLEGATIONS
16   17.   Plaintiff brings this action on behalf of himself and on behalf of and all
17         others similarly situated (“the Class”).
18   18.   Plaintiff represents, and is a member of the Class, consisting of all persons
19         within the United States who received any unsolicited text messages and/or
20         any other unsolicited text messages from Defendant without prior express
21
           consent.
22
     19.   Defendant and its employees or agents are excluded from the Class.
23
           Plaintiff does not know the number of members in the Class, but believes
24
           the Class members number in the tens of thousands, if not more. Thus, this
25
           matter should be certified as a Class action to assist in the expeditious
26
           litigation of this matter.
27
     20.   Plaintiff and members of the Class were harmed by the acts of Defendant in
28
           at least the following ways: Defendant, either directly or through its agents,


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1
           illegally contacted Plaintiff and the Class members via their cellular
2
           telephones by using an unsolicited text message, thereby causing Plaintiff
3
           and the Class members to incur certain cellular telephone charges or
4
           reduced cellular telephone time for which Plaintiff and the Class members
5
           previously paid, and invading the privacy of said Plaintiff and the Class
6
           members. Plaintiff and the Class members were damaged thereby.
7
     21.   This suit seeks only damages and injunctive relief for recovery of economic
8
           injury on behalf of the Class, and it expressly is not intended to request any
9
           recovery for personal injury and claims related thereto. Plaintiff reserves
10

11
           the right to expand the Class definition to seek recovery on behalf of

12
           additional persons as warranted as facts are learned in further investigation

13         and discovery.
14   22.   The joinder of the Class members is impractical and the disposition of their
15         claims in the Class action will provide substantial benefits both to the
16         parties and to the court. The Class can be identified through Defendant’s
17         records or Defendant’s agents’ records.
18   23.   There is a well-defined community of interest in the questions of law and
19         fact involved affecting the parties to be represented. The questions of law
20         and fact to the Class predominate over questions which may affect
21
           individual Class members, including the following:
22
            a)     Whether, within the four years prior to the filing of this Complaint,
23
                   Defendant placed any unsolicited text messages (other than a text
24
                   message made for emergency purposes or made with the prior
25
                   express consent of the called party) to a Class member using any
26
                   automatic telephone dialing and/or texting system to any telephone
27
                   number assigned to a cellular telephone service;
28




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1
            b)     Whether Plaintiff and the Class members were damaged thereby, and
2
                   the extent of damages for such violation; and
3
            c)     Whether Defendant should be enjoined from engaging in such
4
                   conduct in the future.
5
     28.   As a person that received at least one unsolicited text message without
6
           Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical
7
           of the Class. Plaintiff will fairly and adequately represent and protect the
8
           interests of the Class in that Plaintiff has no interests antagonistic to any
9
           member of the Class.
10

11
     29.   Plaintiff and the members of the Class have all suffered irreparable harm as

12
           a result of the Defendant’s unlawful and wrongful conduct. Absent a class

13         action, the Class will continue to face the potential for irreparable harm. In
14         addition, these violations of law will be allowed to proceed without remedy
15         and Defendant will likely continue such illegal conduct. Because of the size
16         of the individual Class member’s claims, few, if any, Class members could
17         afford to seek legal redress for the wrongs complained of herein.
18   30.   Plaintiff has retained counsel experienced in handling class action claims
19         and claims involving violations of the Telephone Consumer Protection Act.
20   31.   A class action is a superior method for the fair and efficient adjudication of
21
           this controversy. Class-wide damages are essential to induce Defendant to
22
           comply with federal law. The interest of Class members in individually
23
           controlling the prosecution of separate claims against Defendant is small
24
           because the maximum statutory damages in an individual action for
25
           violation of privacy are minimal. Management of these claims is likely to
26
           present significantly fewer difficulties than those presented in many class
27
           claims.
28




                                    CLASS ACTION COMPLAINT - 6
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1
     32.   Defendant has acted on grounds generally applicable to the Class, thereby
2
           making appropriate final injunctive relief and corresponding declaratory
3
           relief with respect to the Class as a whole.
4
                        FIRST CAUSE OF ACTION
5          NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
                           PROTECTION ACT
6
                          47 U.S.C. § 227 ET SEQ.
7
     33.   Plaintiff incorporates by reference all of the above paragraphs of this
8
           Complaint as though fully stated herein.
9
     34.   The foregoing acts and omissions of Defendant constitute numerous and
10
           multiple negligent violations of the TCPA, including but not limited to each
11
           and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
12

13
     35.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,

14
           Plaintiff and The Class are entitled to an award of $500.00 in statutory
15         damages, for each and every violation, pursuant to 47 U.S.C. §
16         227(b)(3)(B).
17   36.   Plaintiff and the Class are also entitled to and seek injunctive relief
18         prohibiting such conduct in the future.
19                        SECOND CAUSE OF ACTION
                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE
20
                    TELEPHONE CONSUMER PROTECTION ACT
21                           47 U.S.C. § 227 ET SEQ.
22   37.   Plaintiff incorporates by reference all of the above paragraphs of this
23         Complaint as though fully stated herein.
24
     38.   The foregoing acts and omissions of Defendant constitute numerous and
25
           multiple knowing and/or willful violations of the TCPA, including but not
26
           limited to each and every one of the above-cited provisions of 47 U.S.C. §
27
           227 et seq.
28




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1
     39.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
2
           227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
3
           statutory damages, for each and every violation, pursuant to 47 U.S.C. §
4
           227(b)(3)(C).
5
     40.   Plaintiff and the Class are also entitled to and seek injunctive relief
6
           prohibiting such conduct in the future.
7
                                    PRAYER FOR RELIEF
8
           Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
9
     Class members the following relief against Defendant:
10

11
      FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATIONS OF THE
                      TCPA, 47 U.S.C. § 227 ET SEQ.
12
     41.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
13
           Plaintiff seeks for himself and each Class member $500.00 in statutory
14
           damages, for each and every violation, pursuant to 47 U.S.C. §
15

16
           227(b)(3)(B).

17
     42.   Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such

18         conduct in the future.
19   43.   Any other relief the Court may deem just and proper.
20         SECONDCAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
               VIOLATIONS OF THE TCPA, 47 U.S.C. § 227 ET SEQ.
21

22
     44.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
23         227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00 in
24         statutory damages, for each and every violation, pursuant to 47 U.S.C. §
25         227(b)(3)(C).
26   45.   Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
27         conduct in the future.
28   46.   Any other relief the Court may deem just and proper.



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1
                                      TRIAL BY JURY
2
     47.   Pursuant to the seventh amendment to the Constitution of the United States
3
           of America, Plaintiffs are entitled to, and demand, a trial by jury.
4

5

6                 Respectfully submitted this 28TH day of July, 2020.
7

8
                                      By:    _______________________
9                                            Cynthia Z. Levin, Esq.
                                             Law Offices of Todd M. Friedman, P.C.
10
                                             Attorney for Plaintiff
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                                   CLASS ACTION COMPLAINT - 9
